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The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                    Signed By:
                                                    Gregory R. Schaaf
                                                    Bankruptcy Judge
                                                    Dated: Friday, November 16, 2018
                                                    (grs)
